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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


KD GRETNA PROPERTIES, LLC                *              CIVIL ACTION NO: 13-00218
                                         *
Versus                                   *              JUDGE: ELDON E. FALLON
                                         *
DECATUR REALTY CORP. AND                 *              SECTION: L
SIDNEY BACH                              *
                                         *              MAG. JUDGE: WILKINSON
                                         *
                                         *              MAG. DIV.: 2
* * * * * * * * * * * * * * * * * * * * *

     MEMORANDUM IN SUPPORT OF MOTION TO DISMISS UNDER RULE 12(b)(6)

        Defendant Sidney Bach provides the following memorandum in support of his motion to

dismiss the plaintiff’s sole claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

I.      INTRODUCTION

        This is a derivative action. The plaintiff, KD Gretna Properties, LLC (“KD Gretna”), is a

minority shareholder of Decatur Realty Corporation (“Decatur Realty”). Sidney Bach is the

corporation’s majority shareholder, officer, and director.

        KD Gretna chafes at the state-law limitations on the rights of minority shareholders—

especially new minority shareholders. Louisiana law does not grant shareholder-inspection rights

until the requesting party has owned its shares for at least six months. Aside from its role as

minority shareholder of Decatur Realty, KD Gretna sought a business relationship with that

corporation. Decatur Realty owns a parking lot in the French Quarter, and KD Gretna wanted to

lease it for the lowest sum possible.
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       KD Gretna—which acquired its shares less than six months ago—was ultimately

unsuccessful in 1) gaining access to corporate documents and information from Decatur Realty,

and 2) leasing the parking lot from that corporation. A torrent of unsuccessful litigation, and then

this suit, followed. KD Gretna asserts a single claim against Mr. Bach: alleged breach of

fiduciary duty as manifested by several alleged actions and inactions. Even accepting the factual

assertions as true, none of this presents a plausible claim for relief under controlling state law.

       First, KD Gretna complains that Mr. Bach refused to comply with his requests for

information about the corporation’s business affairs. As a matter of law, KD Gretna has no right

to inspect Decatur Realty’s books and records because it has been a shareholder for less than six

months. La. Rev. Stat. Ann. §12:103(D)(1)(a) is clear on this point. Especially under the business

judgment rule, abiding by the letter of the law cannot constitute a breach of fiduciary duty, much

less one in bad faith. See La. Rev. Stat. Ann. §12:91.

       And second, in its dual capacity as minority shareholder and unsuccessful bidder for the

parking-lot lease, KD Gretna complains that Mr. Bach improperly rejected an “offer” it made. It

asserts that the “offer” was substantially higher than the lease Decatur Realty later signed with a

third party. The Court need not accept at face value KD Gretna’s characterization of its overture

as an offer because that document is attached to the petition. The document, as a matter of law, is

not an offer. It is an unorthodox request by a shareholder/bidder to learn what its competition

was offering for the parking-lot lease so that it might consider topping the offer by an unstated

amount (perhaps $1). The business judgment rule does not dictate negotiating strategy to

corporate officers and directors. As a matter of law, Mr. Bach had no legal duty to give KD

Gretna a free, de facto right of first refusal for the parking-lot lease. Nothing prevented KD

Gretna from submitting its highest and best offer without regard to other offers. It chose not to,




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based on self-interest. The law did not require Mr. Bach to play along with KD Gretna’s self-

serving plan.

II.     BACKGROUND

        For purposes of this motion, the Court accepts as true the plaintiff’s factual allegations,

but not its conclusions or unwarranted inferences. 1

        A.       The corporation, its shareholders, and KD Gretna’s interest in the parking-
                 lot lease.

        Decatur Realty is a Louisiana corporation that owns two principal assets: a building in the

French Quarter, and a parking lot. 2 Decatur Realty has two shareholders: Sidney Bach owns

59.44% of the corporation; and KD Gretna owns 40.56%. 3 KD Gretna became a shareholder in

late October 2012, less than six months ago. 4 KD Gretna’s sole member is Wayne Ducote, who

“has been actively and successfully involved in the parking business for 45 years and is

extremely knowledgeable about that business.” 5 As the petition reveals, KD Gretna’s various

actions and requests stem from its status as 1) a minority shareholder of Decatur Realty and 2) a

potential lessee of the corporation’s parking lot.

        Between October 2012 and January 2013, KD Gretna “made numerous oral and written

requests to review Decatur’s books and records.” 6 Its requests were exceedingly broad, but they

included, specifically, any current and proposed leases for Decatur Realty’s properties. 7 KD


1
        Plotkin v. IP Axess, Inc., 407 F.3d 690, 696 (5th Cir. 2005).
2
        Plaintiff’s Original Verified Petition for Declaratory Judgment, Breach of Fiduciary Duty, and
        Damages, ¶8, Rec. Doc. 7-1, p. 3.
3
        Id., ¶6, p. 3.
4
        Id.
5
        Id., ¶9, p. 3.
6
        Id., ¶10, p. 4.
7
        Id.; see also Exh. 2, p. 17 (requests going back 10 years).


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Gretna’s requests coincided with its desire to lease the parking lot. In fact, beginning in October

2012, KD Gretna offered on numerous occasions to lease the parking lot for $48,000 per year (or

$4,000/month). 8 Citing state law, Mr. Bach refused to provide the proposed leases, in particular,

or open Decatur Realty’s books and records, in general, to KD Gretna. 9 La. Rev. Stat. Ann. §

12:103(D)(1)(a) gives inspection rights only to shareholders of record for at least six months. KD

Gretna had been a shareholder for only two months in December 2012. Mr. Bach agreed,

however, to give KD Gretna any legally required information. 10

       B.       The shareholders’ meeting, and KD Gretna’s later request to learn what the
                other bidder was offering.

       On the morning of December 17, 2012, the parties and their counsel attended an on-the-

record shareholders’ meeting. 11 KD Gretna reiterated its $48,000/year (or $4,000/month) offer to

lease the parking lot and described it as “fair to the corporation.” 12 Later that day, perhaps

sensing that there was another bidder in the wings, KD Gretna asked its counsel to send the

following “request” to Decatur Realty’s counsel. 13 The petition erroneously characterizes this

request as an offer to lease the parking lot for $7,500/month. As shown below, it is not:

                                          *         *     *

                After Decatur Realty Corporation’s shareholders’ meeting this
                morning [Dec. 17, 2012], I had a chance to discuss further the
                parking lot lease with Mr. Ducote [of KD Gretna]. You all were
                clear during this morning’s meeting that your client has no
                obligation to provide Mr. Ducote with any information with regard
                to that lease. Of course we do not agree with that position, and

8
       Id., ¶17, p. 5.
9
       Id., Exh. 14, pp. 52-53.
10
       Id.
11
       Id., ¶27, p.7.
12
       Id., Exh. 11, p. 15, Rec. Doc. 7-1, p. 41.
13
       Id., Exh. 12, pp. 49-50.


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               from a financial standpoint, it appears that generating as much
               income as possible from the parking lot is in the best interests of
               the corporation, particularly if the lease being contemplated is a
               long term lease. The $4,000/mo. rent over a ten year term
               discussed by Mr. Ducote at today’s shareholders’ meeting was an
               offer he made, contemplating only the current lease as he
               understands it: $2,000/mo. paid Mr. Bach’s company, 519 Conti
               Street, Ltd., expiring at the end of this year [December 31, 2012].
               We hereby request that Mr. Ducote be provided with the terms of
               any proposed parking lot lease, the value of which is less than
               $7,500/mo., prior to its execution, such that Mr. Ducote can
               counter such a proposal with more money in rent for the
               corporation under the same terms that Mr. Bach may be
               considering. Please confirm that Mr. Bach will agree to this
               request, which is clearly in the best interests of the corporation. 14

                                          *       *      *

       At 5:37 p.m. on the same day, December 17, Decatur Realty’s counsel replied that Mr.

Bach was traveling and unavailable; he wrote to convey a denial of KD Gretna’s request on

December 18. 15 Finally, on December 19, Decatur Realty informed the plaintiff that it had leased

the parking lot to a third party. 16 There is no allegation that Mr. Bach has any direct or indirect

interest in that lessee, which agreed to pay a monthly rent less than $7,500. 17

       C.      KD Gretna’s suit, and Mr. Bach’s timely removal.

       KD Gretna sued Mr. Bach (and Decatur Realty, nominally) in the Civil District Court for

the Parish of Orleans on January 3, 2013. Mr. Bach removed the case on February 5, 2013,

within 30 days of service on the first-served defendant. 18




14
       Id. (emphasis added).
15
       Id., Exh. 14.
16
       Id., Exh. 16.
17
       Id., ¶54(d), p. 12.
18
       Defendant Sidney Bach’s Notice of Removal, Rec. Doc. 1.


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III.     LAW AND ARGUMENT

         A.     The plaintiff bears the burden to plead the elements of a claim that is
                plausible on its face; the role of attachments.

         When a court considers a motion to dismiss for failure to state a claim under Federal Rule

of Civil Procedure 12(b)(6), “all well-pleaded facts are viewed in the light most favorable to the

plaintiff, but plaintiffs must allege facts that support the elements of the cause of action in order

to make out a valid claim.” City of Clinton v. Pilgrim’s Pride Corp., 632 F.3d 148, 152-53 (5th

Cir. 2010). “To avoid dismissal, a plaintiff must plead sufficient facts to ‘state a claim to relief

that is plausible on its face.’” Gentilello v. Rege, 627 F.3d 540, 544 (5th Cir. 2010) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)). The court “do[es] not accept as true conclusory allegations, unwarranted factual

inferences, or legal conclusions.” Plotkin v. IP Axess, Inc., 407 F.3d 690, 696 (5th Cir. 2005).

         Under Rule 12(b)(6), a court should consider documents attached to the complaint. See In

re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007); see also Tellabs, Inc. v.

Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2008) (directing courts to “consider the

complaint in its entirety, as well as other sources courts ordinarily examine when ruling on Rule

12(b)(6) motions to dismiss, in particular, documents incorporated into the complaint by

reference, and matters of which a court may take judicial notice”) (citing 5B Charles Alan

Wright et al., Federal Practice and Procedure, § 1357 (3d ed. 2004 & supp. 2007)). KD Gretna’s

petition attaches as exhibits its various requests for information, its actual offer and its alleged

offer to lease the parking lot, and the parties’ correspondence. All of this material is at the




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Court’s disposal in ruling on this motion to dismiss. It is fatal to the plaintiff’s effort to state a

viable claim against Mr. Bach.

       B.      KD Gretna fails to state a plausible claim against Mr. Bach; the business
               judgment rule.

       KD Gretna asserts a single claim, ostensibly on behalf of Decatur Realty (and not as a

disappointed bidder for the parking-lot lease). The framework for analyzing the claim is the

business judgment rule and La. Rev. Stat. Ann. § 12:91. Liability depends upon a showing of

gross negligence or intentional misconduct:

               A.      Officers and directors shall be deemed to stand in a fiduciary
                       relation to the corporation and its shareholders, and shall discharge
                       the duties of their respective positions in good faith, and with that
                       diligence, care, judgment, and skill which ordinary prudent men
                       would exercise under similar circumstances in like positions;
                       however, a director or officer shall not be held personally liable to
                       the corporation or the shareholders thereof for monetary damages
                       unless the director or officer acted in a grossly negligent manner
                       as defined in Subsection B of this Section, or engaged in conduct
                       which demonstrates a greater disregard of the duty of care than
                       gross negligence, including but not limited to intentional tortious
                       conduct or intentional breach of his duty of loyalty. Nothing
                       herein contained shall derogate from any indemnification
                       authorized by R.S. 12:83.
               B.      As used in this Section, "gross negligence" shall be defined as a
                       reckless disregard of or a carelessness amounting to indifference to
                       the best interests of the corporation or the shareholders thereof.
               C.      A director or officer who makes a business judgment in good faith
                       fulfills the duty of diligence, care, judgment, and skill under
                       Subsection A of this Section if the director or officer:
                       (1)     Does not have a conflict of interest with respect to the
                               subject of the business judgment.
                       (2)     Is informed with respect to the subject of the business
                               judgment to the extent the director or officer reasonably
                               believes to be appropriate under the circumstances.
                       (3)     Rationally believes that the business judgment is in the best
                               interests of the corporation and its shareholders.




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               D.      In fulfilling his duties under this Section, a director or officer is
                       entitled to rely upon records and other materials and persons as
                       specified in R.S. 12:92(E).
               E.      A person alleging a breach of the duty of diligence, care,
                       judgment, and skill owed by an officer or director under
                       Subsection A shall have the burden of proving the alleged breach
                       of duty, including the inapplicability of the provisions as to the
                       fulfillment of the duty under Subsections C and D and, in a damage
                       action, the burden of proving that the breach was the legal cause of
                       damage suffered by the corporation.
               F.      The provisions of this Section shall apply to all business
                       organizations, whether incorporated or unincorporated, formed
                       under Louisiana law. 19

A director shall be “fully protected” from potential liability when he relies in good faith upon

information or opinions presented to the board by sources acting within their field of expertise.

La. Rev. Stat. Ann. § 12:92(E).

       KD Gretna’s claim has two facets. For ease of analysis, Mr. Bach addresses separately

the contentions that 1) he improperly declined to produce the corporation’s books and records to

one not entitled to them, and 2) he acted improperly in rejecting KD Gretna’s alleged

$7,500/month offer to lease the parking lot in December 2012.

               1.      KD Gretna has no legal right to inspect Decatur Realty’s books and
                       records, in general, or potential competing lease proposals, in
                       particular.

       KD Gretna alleges that “Mr. Bach acted in bad faith and breached his fiduciary duties” in

various ways. 20 Four of them concern alleged denials of “requests for information,” especially

about lease offers that competed with KD Gretna’s offer, and alleged refusals to meet and

discuss leasing issues with KD Gretna, whose member is alleged to be knowledgeable on the




19
       La. Rev. Stat. Ann. § 12:91 (emphasis added).
20
       Petition, ¶54, Rec. Doc. 7-1, p. 11.


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subject. 21 The complaints are simply meritless. Louisiana law grants a minority shareholder no

inspection rights until it has owned the requisite number of shares “at least six months.” La. Rev.

Stat. Ann. § 12:103(D)(1)(a). KD Gretna admittedly had not owned shares in Decatur Realty for

six months when it requested corporate information—and it still hasn’t. As a matter of law, an

officer/director who follows the letter of the law cannot be said to act in bad faith or to have

breached a duty to anyone.

       To the extent that KD Gretna suggests that Mr. Bach had a duty to discuss management

decisions with Mr. Ducote, it is equally mistaken. Minority shareholders have no right to

participate in managing the corporation’s affairs. Indeed, Title 12 affirmatively states that,

subject to the articles, bylaws, or particular statutes, “all the corporate powers shall be vested in,

and the business affairs of the corporation shall be managed by, a board of directors….” La.

Rev. Stat. Ann. § 12:81(A) (emphasis added). As a leading treatise explains, Title 12 “follows

the very traditional approach of relegating shareholders to an indirect, passive role: in the

regular course of corporate affairs, their function is simply to choose other persons, the directors,

to manage the corporation on their behalf.” Glenn G. Morris, et al., 7 La. Civil L. Treatise,

Business Organizations, §14.02 (emphasis added).

                2.       As a matter of law, KD Gretna did not convey a $7,500/mo. offer for
                         the parking lot, and Mr. Bach had no legal duty to tell one bidder
                         what a competing bidder offered.

       KD Gretna’s remaining complaints concern Mr. Bach’s allegedly “[f]ailing to accept

[p]laintiff’s offer to lease” the parking lot for $7,500 per month, and instead leasing to a third

party for a lesser sum. 22 KD Gretna’s theory fails for two reasons. First, its December 17, 2012

communication was a request for inside information to help it negotiate against Decatur Realty:

21
       Id., ¶¶54(a), (b), (e), and (f), p. 12.
22
       Id., ¶54(d), p. 12.


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It was not an “offer.” And second, the law imposed no obligation on Mr. Bach to tell KD Gretna

(or any other potential bidder) what a third party might be willing to pay to lease the parking lot.

       Because the supposed “offer” is attached to the petition, the Court need not (and should

not) accept KD Gretna’s present characterization of it. It was not an offer. This is most clearly

shown by the fact that it conveyed no terms that, upon Decatur Realty’s acceptance, would result

in a binding contract. See La. Civ. Code. art. 1927 (“A contract is formed by the consent of the

parties established through offer and acceptance.”). As Professor Saul Litvinoff has explained, an

offer has a specific meaning in Louisiana law:

               An offer is a proposal to do something or to refrain from doing something
               in return for a counter-promise, an act, or forbearance. To be considered
               properly as such, the offer must fulfill the following three requirements
               clearly established in the Louisiana Civil Code:

               (a) The design to give the other party the right of concluding the contract
                   by his assent,

               (b) The offeror’s intention to obligate himself, [and]

               (c) A serious intent. 23

At the risk of stating the obvious, KD Gretna’s request did not give Decatur Realty the ability to

create a contract with its assent, and KD Gretna did not show an intention to obligate itself.

Because KD Gretna did not make a $7,500/month offer for the parking lot, it necessarily follows

that Mr. Bach could not have rejected it—much less done so in bad faith.

       The flaw in KD Gretna’s claim is substantive, not technical. Instead of increasing its

$4,000/month offer (conveyed in October 2012), KD Gretna sought to exploit its position as a

shareholder of Decatur Realty. It hoped to learn how much its competitor was willing to pay for


23
       Saul Litvinoff, Offer and Acceptance in Louisiana Law: A Comparative Analysis: Part I – Offer,
       28 La. L. Rev. 1, 4 (1967) (footnotes omitted). Note that the Obligations articles were amended
       in 1984, but the amendment did not alter the definition of an offer.


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the parking-lot lease. KD Gretna wanted to know “the terms of any proposed parking lot lease,

the value of which is less than $7,500/mo., prior to its execution,” so that it could consider

whether to increase its offer or stand pat. 24 KD Gretna didn’t obligate itself to do anything. It

sought inside information to help it avoid paying too much for the lease.

       If KD Gretna believed that its $4,000/month offer was too low and likely to be surpassed,

nothing stopped it from increasing its offer to $5,500/month, $6,500/month, or even

$7,500/month. But making such an offer would have presented the risk of its acceptance. Knecht

v. Bd. of Trustees, 591 So. 2d 690, 694 (La. 1991) (“[o]ne who proposes the contract is

bound…if the other party timely assents.”). And if the other bidder for the parking lot was

offering, say, only $4,500/month, then KD Gretna might have paid Decatur Realty more than it

had to. To negate that risk and avoid paying the corporation one dollar more than it had to, KD

Gretna hoped to dictate Mr. Bach’s negotiating strategy. Mr. Bach declined, so the question

arises: Is a corporate director/officer under a legal duty to tell one bidder the value of offers

from competing bidders?

       We are aware of no basis in law for any such novel duty. Yet KD Gretna contends that

Mr. Bach is personally liable for not agreeing to its bold request. The request doubtless would

have benefitted KD Gretna. It would receive, for free, a right akin to a right of first refusal.25

And having that right, it could refrain from increasing its $4,000/month offer unless and until it

absolutely had to, at which point it could either choose to increase its offer or drop out of the

bidding. Nothing in the law required Mr. Bach to give KD Gretna this valuable right and thereby


24
       Rec. Doc. 7-1, Exh. 12.
25
       A right of first refusal is the option and preferred right to buy property at the price offered by a
       third party in the event the owner deserves to sell it. KD Gretna’s request modified the traditional
       formula, applying it to a lease and proposing to pay more (in its sole discretion) than the third
       party.


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risk chasing away the other bidder. And nothing in the law dictated to Mr. Bach the negotiating

strategy he had to follow in leasing the parking lot. Likewise, if Decatur Realty were entertaining

multiple bids to resurface the parking lot, and one bidder requested to learn what another was

offering, the corporation’s management would have no duty to reveal that information to the first

bidder.

          And finally, KD Gretna is estopped to argue that a rental exceeding $4,000/month is

inadequate. The record shows that KD Gretna’s sole member (Wayne Ducote) invoked his

expertise in the parking business, offered Decatur Realty (of which he owns 40.56%)

$4,000/month to lease the parking lot, and stated at the December 2012 shareholders’ meeting

that his offer was “fair to the corporation.” 26 It urged Mr. Bach, on behalf of Decatur Realty, to

accept its offer. The Court should not permit KD Gretna to reverse course now and argue that

accepting an even higher sum from someone else caused a grievous wrong to Decatur Realty.

See also La. Rev. Stat. Ann. § 12:92(E) (director is “fully protected” in relying in good faith

upon expert opinions).

                  3.      A final word about stray references to the building lease.

          KD Gretna never offered to lease the building owned by Decatur Realty. Yet the petition

at times contains collective references to the “Decatur Properties,” a term that includes both the

parking lot and the building. The petition is devoid of any facts to suggest that Decatur Realty

may have leased its building for an inadequate sum. In fact, KD Gretna’s member stated on the

record of the December 2012 shareholders’ meeting that $10,000/month in rent might be

reasonable depending upon other lease terms. 27 The petition alleges (on information and belief)

that Decatur Realty did lease the building for that sum, “but the other terms that affect value are

26
          Exh. 11 to Petition, p. 15, Rec. Doc. 7-1, p. 41 (emphasis added).
27
          Id., pp.34-45, Rec. Doc. 7-1, p. 46.


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unknown.” 28 In other words, the petition alleges that the building lease might be perfectly

acceptable. That is a virtual concession that the standard of Twombly has not been met. And it is

no answer for the plaintiff to say that it needs discovery to learn whether it has a basis to sue.

The Court should not allow the plaintiff to use a lawsuit to circumvent state law and obtain

corporate records not available to it until it has been a shareholder for six months. La. Rev. Stat.

Ann. § 12:103(D)(1)(a).

IV.     CONCLUSION

        This is an unusual case because of the plaintiff’s dual capacities in the underlying

events—minority shareholder and potential lessee. The facts, as alleged and as shown by the

attachments to the petition, make clear that KD Gretna has no legally viable claim against Sidney

Bach:

        •   KD Gretna has no shareholder inspection rights as a matter of law, so Mr. Bach could
            not improperly deny it such rights; and

        •   KD Gretna did not offer to lease the parking lot for $7,500/month, and meaning that
            the offer could not have been rejected, Mr. Bach had no legal duty to reveal to the
            plaintiff the amount offered by a competing bidder.

        The Court should grant this motion and dismiss KD Gretna’s unfounded claim against

Sidney Bach.




28
        Petition, ¶45, Rec. Doc. 7-1, p. 10 (emphasis added).


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                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading was served upon opposing counsel

of record this 21st day of February, 2013, by e-filing same into the CM/ECF system, which will

automatically deliver a copy of same to all counsel.

                                             /s/        Thomas M. Flanagan




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